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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


                                                 )
                                                 )
                                                 )
        MST, LLC,                                )          No. 2:22-cv-00874-DCN
                                                 )
                              Plaintiff,         )
                                                 )
                    v.                           )
                                                 )     MEMORANDUM IN SUPPORT
        North American Land Trust and            )      OF SUMMARY JUDGMENT
        Georgetown Memorial Hospital,            )
                                                 )
                              Defendants.        )
                                                 )
                                                 )
                                                 )


       Defendant Georgetown Memorial Hospital (“GMH”) respectfully submits this

memorandum in support of its Motion for Summary Judgment (“Motion”) under Rule 56 of the

Federal Rules of Civil Procedure on the declaratory judgment action asserted by Plaintiff MST,

LLC (“MST”) in its Complaint (ECF No. 1).
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  I. INTRODUCTION

       This case is about MST’s attempt to assert dominion and control over GMH’s property by

seeking to invalidate a 2008 amendment to a conservation easement that formerly encumbered

GMH’s property. In its efforts to invalidate the amendment, MST ultimately seeks to enforce the

restrictions of the original conservation easement on GMH’s property to prevent that property from

being developed. In other words, through this lawsuit MST seeks to control what can and cannot

be done on GMH’s property, despite the undisputed fact that MST does not own, and has never

owned, the property. Moreover, through this lawsuit, MST impermissibly seeks to invalidate the

actions of its own predecessors-in-interest, who, along with the North American Land Trust,

executed the 2008 amendment releasing GMH’s property from the restrictions imposed by the

original conservation easement. For the reasons detailed herein, GMH is entitled to summary

judgment on MST’s claim.

       As a threshold issue, because MST has never had any interest in GMH’s property, MST

lacks standing to bring this action over a conservation easement formerly existing on GMH’s

property. Yet, even if MST were to have standing, GMH still would be entitled to summary

judgment for multiple additional reasons. First, MST must be estopped from challenging the

validity of the 2008 amendment because the former owners who sold GMH its property and

executed that amendment also sold MST its own separate property in 2010; MST thus stands in

the shoes of its predecessors-in-interest to MST’s property—i.e., the same couple who also sold

the property at issue to GMH and executed the 2008 amendment in order to secure GMH’s

purchase of that property. Separately, MST also must be estopped from denying the validity of

the 2008 amendment because MST itself purchased its own property expressly “subject to” and

with full knowledge of that 2008 easement amendment and its effect. What’s more, MST’s failure




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to raise any objections to the validity of that 2008 amendment after purchasing its own property in

2010 render its current claims (not initiated until 2022) barred by the doctrine of laches.

Additionally, because GMH is a bona fide purchaser for value with respect to the property it

purchased, GMH took title thereto without any encumbrance from the prior conservation

easement—even if the 2008 amendment were deficient. Finally, GMH is entitled to summary

judgment because the 2008 amendment is valid as a matter of law and fully effected the removal

of the prior conservation easement’s restrictions on GMH’s property. Accordingly, GMH is

entitled to summary judgment on MST’s claim.

    II. UNDISPUTED FACTS

       A. The Youngs Acquire Weehaw Plantation and Execute a Conservation
          Easement Thereon in 1995.

        In 1988, Larry and Judy Young acquired 932.56 acres of land in Georgetown, South

Carolina commonly known as Weehaw Plantation (“Weehaw Plantation”), outlined in red

below:1




1
 Two separate tracts (Tract 1 and Tract 2, both detailed in the image below) originally comprised
Weehaw Planation. Tract 2 is irrelevant for the purposes of this case and will not be discussed.


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(Mot. Ex. A at 71; Mot. Ex. B (transferring Weehaw Plantation to Larry Young); Mot. Ex. C

(transferring half-interest in Weehaw Planation to Judy Young).)

       Years later, on December 29, 1995, Larry and Judy granted North American Land Trust

(“NALT”) a conservation easement on a subset of Weehaw Planation (the “1995 Conservation

Easement”) by way of an executed Declaration of Restrictive Covenants (Mot. Ex. A at 22–34).

(See Mot. Ex. D ¶ 7.) The 1995 Conservation Easement encumbered approximately 788 acres

(highlighted in yellow below) of Weehaw Plantation’s total 932.56 acres:




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(Mot. Ex. A at 41 (highlighting added).) Thereafter, Larry and Judy conveyed Weehaw Plantation

to their son Kyle Young and his wife Jacqueline Young (the “Youngs”). (Mot. Ex. D ¶ 7.)

      B. In 2008, GMH Purchases a Portion of Weehaw Plantation after the Youngs
         and NALT Remove the Restrictions of 1995 Conservation Easement from
         that Portion.

       Beginning around 2008, an exhaustive study of possible sites for the new Georgetown

public hospital was conducted. (Mot. Ex. E 10:4–18, 13:7–16.) Due to various site selection

criteria (including wetland areas, elevation, and other infrastructure considerations, see id. 13:17–

15:11), it was determined that a portion of Weehaw Plantation was the best site for a potential

hospital development. (See id. 16:1–17:1.) GMH subsequently approached the Youngs to inquire

about purchasing approximately 65 acres of Weehaw Plantation to construct a new hospital

campus. (Id. 17:13–18:1, 21:4–22:10.) On November 10, 2008, while the Youngs and GMH were

negotiating GMH’s purchase of 65 acres of Weehaw Plantation, Georgetown County passed



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Ordinance No. 2008-65. (Mot. Ex. F.) That ordinance rezoned portions of Weehaw Plantation

from residential and general commercial uses and placed them in a new Georgetown Memorial

Hospital Weehaw Campus Planned Development (the “Planned Development”). (Id.)

        On December 19, 2008, the Youngs and NALT executed an amendment to the 1995

Conservation Easement (the “2008 Amendment”) in order to release the 56.75 acres of upland

property (the “Hospital Property”; highlighted below in blue) from the original restrictions

contained in the 1995 Conservation Easement (highlighted below in yellow):




(Mot. Ex. G at 12 (highlighting added).) 2 NALT executed the 2008 Amendment in exchange for

the Youngs agreeing to further encumber approximately 35 acres of more culturally and

ecologically significant property in Weehaw Plantation by extinguishing their reserved right to


2
 The remaining 8.25 acres of the Hospital Property were never encumbered by the 1995
Conservation Easement. (Id. at 2.)


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develop five homesites (which were originally unencumbered and permitted to be developed under

the 1995 Conservation Easement). (Id. at 2.) Before executing the 2008 Amendment, NALT

determined, and the Youngs agreed, that amending the 1995 Conservation Easement in this manner

would “have a greater ecological benefit and further advance and protect the Conservation

Purposes of the Conservation Easement.” (Id.) The Youngs, NALT, and GMH were each

represented by separate counsel during the amendment process. (See Mot. Ex. E 8:20–9:1, 35:1–

36:5.) Each of their counsel determined that the 2008 Amendment was valid and that it removed

the restrictions placed on the Hospital Property by the 1995 Conservation Easement. (See id.

34:3–36:5, 53:13–54:19.)

        On December 30, 2008, GMH purchased the Hospital Property from the Youngs. (Mot.

Ex. H.)3 The 2008 Amendment was recorded with the Georgetown County Register of Deeds the

same day. (Mot. Ex. G.) The 2008 Amendment made clear that, at the time GMH purchased the

Hospital Property, GMH “need[ed] to relocate its Georgetown Memorial Hospital campus due to

the inability to expand in its current location due to geographic restraints.” (Id. at 2.) The 2008

Amendment also made clear that GMH intended to build a new hospital campus on the Hospital

Property. (Id.) However, neither the 2008 Amendment nor any other instrument restricted GMH’s

use of the Hospital Property. (See id.; see also Mot. Ex. N 278:21–279:8.) GMH was free to use,

develop, and/or sell the Hospital Property for any purpose, subject to the appropriate zoning. (See

Mot. Ex. G.)




3
  Although the Youngs initially conveyed the Hospital Property to Georgetown Hospital System
(id. at 1), Georgetown Hospital System subsequently executed a corrective deed transferring the
Hospital Property to GMH. (Mot. Ex. P at 4.)


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       C. In 2010, MST Purchases the Remaining Balance of Weehaw Plantation
          from the Youngs.

        On June 16, 2010, MST purchased from the Youngs the remaining balance of Weehaw

Plantation (as reduced after sale of the Hospital Property to GMH, inter alia)—a tract

approximately 687.20 acres in size (the “Weehaw Balance”). (Mot. Ex. I.) The deed transferring

title of the Weehaw Balance from the Youngs to MST expressly stated that MST purchased that

property “subject to” the 1995 Conservation Easement and the 2008 Amendment. (See id. at 2

(emphasis added).) Thus, as Jim Murren (“Murren,” the principal4 of MST) testified, when MST

purchased the Weehaw Balance, MST had notice of both the 1995 Conservation Easement and the

2008 Amendment—the latter of which removed 56.75 acres of GMH’s Hospital Property from the

1995 Conservation Easement and stated GMH’s intent to develop the Hospital Property. (See id.;

Mot. Ex. J 97:11–99:23.)

        Moreover, MST’s attorney reviewed the 1995 Conservation Easement and the 2008

Amendment with Murren and Murren’s wife (Heather) prior to MST’s purchase of the Weehaw

Balance, and he represented to them that the 2008 Amendment removed the restrictions on the

Hospital Property and that there might be future development on that parcel. (Mot. Ex. E 62:25–

66:8.) Murren himself testified that he understood the 2008 Amendment to remove MST’s right

to develop five building envelopes and to remove the restrictions imposed by the 1995

Conservation Easement on the Hospital Property.       (Mot. Ex. J 99:13–20.) And, with full




4
 Murren is the trustee and sole beneficiary of the trust owning MST. (Mot. Ex. J 46:10–19, 46:22–
47:24, 78:3–22.)


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knowledge of those two consequences of the 2008 Amendment, Murren moved forward with

MST’s purchase of the Weehaw Balance. (Id. 99:21–23, 128:9–19.).

       Significantly, MST’s purchase price on the Weehaw Balance reflected the surrendered

development rights on the property—as the purchase price likely would have been higher if the

Weehaw Balance had included those development rights.

      D. In 2021, GMH Seeks to Rezone the Hospital Property and Sell It to an
         Affordable Housing Developer.

       Despite GMH’s original intentions in 2008, GMH ultimately was unable to develop a

hospital upon the Hospital Property. (Mot. Ex. E 66:17–67:5.) Indeed, due to the fallout of the

2008 financial crisis, GMH was forced to change its long-term strategic plan and focus resources

on higher-growth areas in northern Georgetown County and Horry County. (Mot. Ex. O at 2–3.)

Thus, rather than develop a hospital on the Hospital Property, GMH instead renovated its existing

hospital campus in Georgetown. (Id.; see also Ex. E 66:17–67:5.) Thereafter, GMH designated

the Hospital Property as “surplus” property that needed to be offloaded from its portfolio via sale.

(Mot. Ex. E 67:19–68:2.)

       To achieve that end, on February 19, 2021, GMH ultimately applied to Georgetown County

for a modification to the Planned Development governing the Hospital Property. (Mot. Ex. K.)

At that time, GMH hoped to sell the property to an affordable housing developer so that GMH and

other businesses in Georgetown could attract and recruit lower- to middle-income skilled workers

necessary for their businesses to operate; for this reason, GMH’s application to Georgetown

County sought to allow for multifamily housing on the Hospital Property. (See id. at 6.) Following

the announcement of GMH’s application, MST’s counsel wrote a letter to the Georgetown County

Council claiming that GMH’s Hospital Property could not be rezoned to allow for multifamily

housing because the 2008 Amendment was invalid and thus the Hospital Property was still fully



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encumbered by the 1995 Conservation Easement. (Mot. Ex. L.) GMH’s proposed modification

to the planned development then failed to pass during its final reading—despite receiving

unanimous approval in its prior two readings. (See Mot. Ex. D ¶¶ 27–28.)

 III. PROCEDURAL BACKGROUND

       Following Georgetown County Council’s failure to pass the proposed modification to the

Planned Development, MST filed this lawsuit on March 16, 2022. (See generally Mot. Ex. D.)

MST brings a single cause of action for declaratory judgment therein and demands relief that is

specifically tied to GMH’s use of its property. (Id. ¶¶ 31–39.) MST seeks a declaration that the

2008 Amendment “is invalid as a matter of law because the [1995] Conservation Easement

requires that the property encumbered by the Conservation Easement be encumbered in

perpetuity.” (Id. ¶ 33.) More specifically, MST argues that the 1995 Conservation Easement

prevents NALT from activity “that would result in [the easement] failing to qualify as a valid

conservation” under 27 U.S.C. § 170(h), and that conservation easements are valid under 27 U.S.C.

§ 170(h) only if they are “granted in perpetuity.” (Id. ¶¶ 34–36.) MST asks this Court to decide

that “the Conservation Easement still encumbers the Hospital Easement Property” and for a

judgment that “the Hospital Easement Property is still subject to and encumbered by all the terms

and conditions of the Conservation Easement.” (Id. ¶¶ 39 et seq.)

       After filing unsuccessful motions to dismiss MST’s claim (ECF Nos. 14 and 15, denied by

ECF No. 29), GMH and NALT filed answers on November 22, 2022. (ECF Nos. 30, 31.) In its

answer, GMH pleaded counterclaims against MST and third-party claims against the individuals

associated with MST, James and Heather Murren, but this Court dismissed those counterclaims on

May 19, 2023. (ECF No. 53.)

       On March 28, 2024, GMH and NALT moved this Court for reconsideration of its prior




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order (ECF No. 29) denying GMH’s and NALT’s motions to dismiss (ECF No. 14, ECF No. 15).

(ECF Nos. 63, 66.) GMH then successfully moved to amend its answer (ECF No. 72, granted by

ECF No. 73) and filed an amended answer pleading third-party claims against Kyle and Jacqueline

Young (ECF No. 77). Jacqueline Young answered (ECF No. 96), but default was entered against

Kyle Young (ECF No. 108). This Court held a hearing on GMH’s and NALT’s motions for

reconsideration on March 4, 2025 (ECF No. 111) and issued a text order on March 5, 2025 advising

the parties that it was taking the Motions for Reconsideration under advisement (ECF No. 112).

 IV. LEGAL STANDARD

      “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). “When a party fails to establish the existence of an element essential to that party’s

case, there is no genuine issue of material fact and the movant is entitled to a judgment as a matter

of law.” Perkins v. Int’l Paper Co., 936 F.3d 196, 205 (4th Cir. 2019) (citing Celotex Corp. v.

Catrett, 477 U.S. 317, 322–23 (1986)).

        “The party seeking summary judgment shoulders the initial burden of demonstrating to

the court that there is no genuine issue of material fact. Once the movant has made this threshold

demonstration, the non-moving party, to survive the motion for summary judgment, may not rest

on the allegations averred in his pleadings. Rather, the non-moving party must demonstrate

specific, material facts exist that give rise to a genuine issue. Under this standard, the existence of

a mere scintilla of evidence in support of the non-movant’s position is insufficient to withstand the

summary judgment motion.” Britt v. Sorin Grp. Deutschland GMBH, No. 6:18-CV-03117-DCC,

2023 WL 5757306, at *2 (D.S.C. Sept. 6, 2023) (original citation sentences omitted).




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      “A litigant cannot create a genuine issue of material fact through mere speculation or the

building of one inference upon another.” Beale v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985).

“Where the record taken as a whole could not lead a rational trier of fact to find for the non-moving

party . . . summary judgment is appropriate.” Monahan v. County of Chesterfield, 95 F.3d 1263,

1265 (4th Cir. 1996).

  V. ARGUMENT

       GMH is entitled to summary judgment for multiple independent reasons. As a threshold

issue, GMH is entitled to summary judgment because MST lacks standing to bring its claim under

S.C. Code Ann. § 27-8-40. Yet, even if MST were to have standing, GMH still would be entitled

to summary judgment on MST’s claim. Standing in the shoes of its predecessors-in-interest, the

Youngs, MST must be estopped from challenging the validity of the 2008 Amendment and seeking

to enforce the restrictions of the 1995 Conservation Easement on the Hospital Property, as the

Youngs themselves executed the 2008 Amendment attesting to the validity of the same. MST

further must be estopped from denying the validity of the 2008 Amendment because MST

purchased the Weehaw Balance expressly “subject to” and with full knowledge of the 2008

Amendment’s effects. And MST’s failure to raise any objections to the validity of the 2008

Amendment, despite that full knowledge, until 2022 render its claim barred by the doctrine of

laches. Additionally, because GMH is a bona fide purchaser for value with respect to the Hospital

Property, even if the 2008 Amendment is invalid or legally unenforceable, GMH took title to the

Hospital Property free of any restrictions or encumbrances imposed by the 1995 Conservation

Easement. Finally, GMH is entitled to summary judgment because the 2008 Amendment is valid

and fully effected the removal of the 1995 Conservation Easement’s restrictions on the Hospital

Property.




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      A. GMH Is Entitled to Summary Judgment Because MST Lacks Standing to
         Bring Its Claim.

       As set forth in GMH’s and NALT’s Motions to Dismiss (ECF Nos. 14, 15) and Motions

for Reconsideration (ECF Nos. 63, 66) (including all briefing submitted in relation to the same,

ECF Nos. 23, 24, 79, 80),5 GMH is entitled to summary judgment because MST lacks standing to

bring this case. The South Carolina Conservation Easement Act of 1991 (the “Act”) strictly limits

the persons entitled to bring “[a]n action affecting a conservation easement.” S.C. Code Ann. §

27-8-40(a). Under that Act, such actions “may be brought by:

               (1) an owner of an interest in the real property burdened by the easement;

               (2) a holder of the easement;

               (3) a person having a third-party right of enforcement; or

               (4) a person otherwise authorized by law.”

Id. § 27-8-40(a)(1)–(4). As this Court already determined, MST is neither “a holder of the

easement,” “a person having a third-party right of enforcement,” nor “a person otherwise

authorized by law.” (ECF No. 29 at 18 (“Neither of these provisions, (A)(2)–(3), grant MST

standing to bring this action . . . .”); id. at 22 (“MST does not have standing under (A)(4).”).) Thus,

as this Court previously indicated, MST’s only conceivable authority for standing is Section 27-8-

40(A)(1) as “an owner of an interest in the real property burdened by the easement” (id. at 21)—

and only because the Court found that MST is a successor-in-interest to the grantor of the 1995

Conservation Easement (id. at 18–19).

      However, MST does not own and has never owned the Hospital Property. Thus, MST is

not “an owner of an interest” in the 1995 Conservation Easement with respect to the Hospital


5
  GMH reincorporates the arguments raised in these filings, and those articulated to the Court at
the March 4, 2024 hearing as if fully set-forth herein.


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Property under basic principles of South Carolina law, and as articulated by the South Carolina

Court of Appeals in Floyd v. Dross. 442 S.C. 79, 95–96, 897 S.E.2d 191 199–200 (Ct. App. 2024)

(finding that one can be a successor in title only with respect to the property he or she receives

from the grantor and preventing the plaintiff from attempting to enforce a conservation easement

on a neighboring piece of property which the plaintiff did not own and in which the plaintiff did

not have any interest). Accordingly, MST lacks standing to bring this case, and GMH is entitled

to summary judgment on this issue. Nevertheless, even if MST were to have standing—which

GMH expressly denies for the foregoing reasons—the only way in which MST could conceivably

have standing would be as a successor-in-interest to the Youngs. (ECF No. 29 at 21.) But, as a

successor-in-interest to the Youngs, MST is estopped from challenging the validity of the 2008

Amendment or otherwise seeking to impose the restrictions of the 1995 Conservation Easement

on the Hospital Property. (See Section V.B and C, infra.)

      B. GMH Is Entitled to Summary Judgment Because MST Stands in the Shoes
         of the Youngs—Who Granted the 2008 Amendment—and Thus Must Be
         Estopped from Denying the Effectiveness Thereof.

       GMH is separately entitled to summary judgment because MST is estopped from

challenging the effect of the 2008 Amendment—an amendment undertaken for the benefit of GMH

and NALT by MST’s predecessors-in-interest, the Youngs, in whose shoes MST now stands.

       “Estoppel is an equitable doctrine, essentially flexible, and therefore to be applied or denied

as equities between the parties may preponderate.” Landing Dev. Corp. v. City of Myrtle Beach,

285 S.C. 216, 221, 329 S.E.2d 423, 425 (1985). “The essential elements of an equitable estoppel

as related to the party claiming the estoppel are: (1) lack of knowledge and of the means of

knowledge of the truth as to the facts in question; (2) reliance upon the conduct of the party




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estopped; and (3) the action based thereon was of such a character as to change prejudicially the

position of the party claiming the estoppel.” Id. at 219, 329 S.E.2d at 424.

          Importantly—and especially relevant to the facts present in this case—a successor-in-

interest is estopped from asserting any position which its predecessor-in-interest is estopped from

asserting. See Watson v. Watson, 172 S.C. 362, 174 S.E. 33, 36 (1934) (explaining that successors

“stand exactly in the shoes of the [predecessor], and that they therefore are estopped to question

anything that the [predecessor] was estopped from asserting.”); Thompson v. Hudgens, 161 S.C.

450, 159 S.E. 807, 811 (1931) (opinion of circuit judge affirmed on appeal “for the reasons stated

therein”) (“How far does the estoppel go? . . . The answer is[,] generally, that all those in privity

with him are also estopped by reason of his conduct in the premises.”); Holley v. Glover, 36 S.C.

404, 15 S.E. 605, 613 (1892) (finding that grantor’s conveyance of property placed grantee in the

shoes of grantor, invested him with the same seisin, subject to the same qualifications, with which

grantor had previously been invested); Brown v. Moore, 26 S.C. 160, 2 S.E. 9, 12 (1887) (finding

that the grantee stands in the shoes of the grantor, and “can make no denial that he could not

make”).

       The policy goal undergirding the principle of estoppel in the real property context—which

in essence makes the actions of a predecessor-in-interest binding on its successors-in-interest—is

grounded in practicality. See 28 AM. JUR. 2D Estoppel and Waiver § 1 (Jan. 2025 update). Indeed,

if a successor-in-interest to real property could challenge or seek to invalidate the acts of its

predecessors, purchasers of real property would have no certainty about the rights they had

acquired in the real property that they purchased—or what restrictions could be imposed on the

property that they purchased. See id. (“The doctrine of estoppel is designed to prevent injustice

by not permitting a party to repudiate a course of action on which another party has relied to their




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detriment.     The purpose of the doctrine is to forbid one to speak against their own act,

representations, or commitments to the injury of one to whom they were directed and who

reasonably relied thereon. The purpose of estoppel is to protect those who have been misled by

that which upon its face was fair or those who have been misled by false and inconsistent

statements.”). This type of uncertainty would stifle the real estate market and mire transfers of

real property in inordinate amounts of litigation.

          The South Carolina Supreme Court’s opinion in Kerr v. City of Columbia is instructive.

232 S.C. 405, 102 S.E.2d 364 (1958). In 1953, the Town of Eau Claire zoned the Kerr plaintiff’s

property for business use, and town officials subsequently represented the property as such. Id. at

408–09, 102 S.E.2d at 365. Based on this understanding, in 1955, the plaintiff arranged to sell her

property to a company for redevelopment as a gas station and sought a building permit therefor.

Id. at 409, 102 S.E.2d at 365. The Eau Claire town council refused the permit on the basis that the

plaintiff’s property was “zoned for residents.” Id. Shortly thereafter, the Town of Eau Claire

merged with the City of Columbia; when the plaintiff then reapplied for a building permit from

Columbia, she received another rejection on the same basis. Id. at 409, 102 S.E.2d at 365–66. On

appeal, the South Carolina Supreme Court ordered the City of Columbia to issue the building

permit to plaintiff—finding that the City of Columbia, standing in the shoes of the Town of Eau

Claire, was estopped from denying the property’s business zoning since Eau Claire town officials

had represented it as such and the plaintiff had relied upon that status. Id. at 411–12, 102 S.E.2d

at 367.

          Here, the Youngs themselves would be estopped from challenging the validity of the 2008

Amendment. In 2008, the Youngs and NALT executed the 2008 Amendment to the 1995

Conservation Easement. (Mot. Ex. G.) Within the 2008 Amendment, the Youngs voluntarily




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extinguished their own valuable development rights to the Weehaw Balance, in furtherance of the

conservation purposes of the 1995 Conservation Easement, and in exchange for the release of the

Hospital Property from the easement’s restrictions. (See id. at 1–3.) The Youngs, NALT, and

GMH were each represented by separate counsel during the amendment process. (See Mot. Ex. E

8:20–9:1, 35:1–36:5.) Each of their counsel determined that the 2008 Amendment was valid and

that it removed the restrictions placed on the Hospital Property by the 1995 Conservation Easement

in exchange for extinguishing the Youngs’ development rights by encumbering five home sites on

the Youngs’ remaining property, the Weehaw Balance. (See id. 34:3–36:5, 53:13–54:19.)

       Consequently, the Youngs would be estopped from now challenging the validity or

enforceability of the 2008 Amendment. Indeed, the Youngs executed the 2008 Amendment,

acknowledging and agreeing to its terms—an act by the Youngs which expressly conveyed that

the restrictions articulated in the 1995 Conservation Easement no longer encumber the Hospital

Property. Nevertheless, MST has now filed this lawsuit to contest this reality. The Youngs

executed the 2008 Amendment precisely for the purpose of securing GMH’s purchase of the

Hospital Property. And yet, MST now claims that the 2008 Amendment did not accomplish the

result which the Youngs (as predecessors-in-interest to MST) held out to GMH. GMH lacked

knowledge or the means to obtain knowledge of the 2008 Amendment’s alleged ineffectiveness.

Indeed, GMH relied on its legal counsel who worked with counsel for the Youngs and NALT to

ensure that the 1995 Conservation Easement was amended such that the Hospital Property could

be developed. (See Mot. Ex. E 35:1–36:5.) Counsel for GMH, the Youngs, and NALT each

determined that the 2008 Amendment was valid and that it removed the restrictions placed on the

Hospital Property by the 1995 Easement (see id. 34:3–36:5, 53:13–54:19)—a fact to which the

Youngs attested when they executed the 2008 Amendment on December 19, 2008. (Mot. Ex. G




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at 3 (stating that the Hospital Parcel is released from and no longer subject to the easements,

covenants, prohibitions, and restrictions set forth in the Conservation Easement).)            GMH,

therefore, not only relied on the Youngs’ representations and conduct related to the 2008

Amendment, but undertook prejudicial action based upon that conduct—namely, purchasing the

Hospital Property for approximately $3.3 million for a purpose dependent upon the efficacy of the

2008 Amendment. (See Mot. Ex. M 45:3–18 (testifying that GMH’s purchase of the Hospital

Property was contingent on the Amendment validly removing the Hospital Parcel from the

restrictions imposed by the Conservation Easement)).6 Under these facts, the Youngs would be

estopped from challenging the validity of the 2008 Amendment and seeking to enforce the

restrictions imposed by the 1995 Conservation Easement on the Hospital Property. See Landing

Dev., 285 S.C. at 219, 329 S.E.2d at 425 (estopping the city from enforcing a zoning ordinance to

prevent short-term rentals where (1) the defendant informed the city’s zoning coordinator of its

intent to rent the at-issue property on a weekly or possibly daily basis, (2) the City’s zoning

coordinator represented that such rentals were permitted by the ordinance, and (3) defendant spent

tens of thousands of dollars in reliance on the zoning coordinators’ statements interpreting the

ordinance; concluding that, “[t]o allow the City to repudiate its former interpretation of permissible

rentals and the statements of its zoning director, based upon a re-assessment of the meaning of an

undefined term in the ordinance would be unconscionable” (emphasis added)).

       Because the Youngs would be estopped from challenging the 2008 Amendment’s validity

and seeking to enforce the restrictions of the 1995 Conservation Easement on the Hospital

Property, MST—as the Youngs’ successor-in-interest to the Weehaw Balance—is likewise


6
 Further, the parties incurred substantial time and expense in studying the ecological effects of the
2008 Amendment as well as negotiating, preparing, and executing the 2008 Amendment. (Mot.
Ex. N 246:24–248:8, 269:2–275:17.)


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estopped from doing so. See Kerr, 232 S.C. at 411–12, 102 S.E.2d at 367. Accordingly, MST

cannot now challenge the actions of its predecessor—the Youngs—as it relates to the 2008

Amendment, and therefore, GMH is entitled to summary judgment on MST’s claim.

      C. GMH Is Entitled to Summary Judgment Because MST Purchased MST’s
         Property Subject to and with Full Knowledge of the 2008 Amendment and
         Thus Must Be Estopped from Denying the Effectiveness Thereof.

       GMH is separately entitled to summary judgment based on the doctrine of “estoppel by

deed” because MST purchased the Weehaw Balance subject to and with the full knowledge of the

2008 Amendment and thus must be estopped from denying the effectiveness thereof. Under basic

principles of estoppel and equity (including, in particular, estoppel by deed), a party to a deed or

its privy cannot contradict the express provisions of the deed while, at the same time, seeking to

benefit therefrom:

       Estoppel by deed is a bar that precludes one party to a deed and their privies from
       asserting as against the other party and their privies any right or title in derogation
       of the deed or from denying the truth of any material facts asserted in it. . . .
       Generally, the doctrine of estoppel by deed provides that equity will not permit a
       grantor, or one in privity the grantor, to assert anything in derogation of an
       instrument concerning an interest in real or personal property as against the grantee
       or the grantee’s successors. . . . The principle is that[,] when a person has entered
       into a solemn engagement by deed, that person will not be permitted to deny any
       matter that they have asserted therein[,] for a deed is a solemn act[,] to any part of
       which the law gives effect as the deliberate admission of the maker; to the maker[,]
       it stands for truth, and in every situation in which the maker may be placed with
       respect to it, it is true as to them.

28 AM. JUR. 2D Estoppel and Waiver § 5 (Jan. 2025 update);7 7 S.C. JUR. Estoppel and Waiver § 7

(Feb. 2025 update); see also Gibson v. Lyon, 115 U.S. 439, 447–48 (1885) (“[A plaintiff] certainly



7
  See also 28 AM. JUR. 2D Estoppel and Waiver § 12 (Jan. 2025 update) (“Estoppel by deed binds
not only the grantor but also those in privity with the grantor . . . . The well-established general
principle is that a grantor and the grantor’s privies are estopped as against the grantee and those in
privity with the grantee from asserting anything in derogation of the grant or from denying the
truth of any material facts stated in the conveyance.”).


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cannot be permitted to claim both under and against the same deed; to insist upon its efficacy to

confer a benefit and repudiate a burden with which it has qualified it; to affirm a part and reject a

part.” (emphasis added)); Peoples Fed. Sav. & Loan Ass’n v. Myrtle Beach Golf & Yacht Club,

310 S.C. 132, 151, 425 S.E.2d 764, 776 (Ct. App. 1992) (estopping property owner from

complaining of fact “expressly provide[d]” in deed); Long Grove at Seaside Farms, LLC v. Long

Grove Property Owners’ Ass’n, Inc., No. 2009-CP-10-06746, 2012 WL 10890587, at *15 (S.C.

Ct. Com. Pls. July 23, 2012) (“[T]he [property owners association] and unit owners are estopped

as a matter of law from disclaiming or collaterally attacking the validity of the assumption of

liability, disclaimers, and releases that are contained in the instruments of record applicable to their

property.”).8 In other words, where a party (such as MST) acquires property pursuant to a deed, it

cannot subsequently challenge the rights, restrictions, or other conditions conveyed in that deed,

or otherwise attack (or seek to invalidate) the prior conveyances which that deed incorporates.

       In 2010, MST purchased its own portion of Weehaw Plantation (the Weehaw Balance)

from the Youngs for approximately $3.4 million—a price that reflected the value of the Weehaw

Balance being subject to the 1995 Conservation Easement and the 2008 Amendment. Indeed, the

deed transferring title of the Weehaw Balance from the Youngs to MST expressly stated that MST

purchased the property subject to the 1995 Conservation Easement and the 2008 Amendment.


8
 See also Keller v. Parish, 196 N.C. 733, 147 S.E. 9 (1929) (“[B]ecause they accepted their deed
subject to the mortgages, the grantees were estopped to deny that the mortgages were valid.”); J.H.
Williams Oil Co. v. Harvey, 872 So. 2d 287, 289 (Fla. Dist. Ct. App. 2004) (“The language of the
reservation agreement [between the Trust and Chevron] expressed the intention of the Trust and
Chevron that the title to the property be taken subject to this reservation. Likewise, it is clear from
the face of the deed that Chevron was conveying title [to Chevron’s successor-in-interest] subject
to the reservation. The deed not only included a description of the reservation but also cited the
location in the public records where a copy of the reservation could be found. [Chevron’s
successor-in-interest] therefore is estopped from denying the reservation as it had appropriate
notice from the face of the deed by which it took title and from the public records.”).


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(See Mot. Ex. I.) Thus, when MST purchased its portion of Weehaw Plantation, MST had notice

of both the 1995 Conservation Easement and the 2008 Amendment—the latter of which (1)

removed 56.75 acres of GMH’s Hospital Property from the 1995 Conservation Easement in

exchange for further encumbering the Weehaw Balance by extinguishing the reserved

development rights for the five homesites on the property and (2) expressly stated GMH’s intent

to develop the Hospital Property.

       Both MST (through Murren) and its attorney for the 2010 purchase testified that they knew

MST’s purchase of the Weehaw Balance was subject to the 2008 Amendment—and that the 2008

Amendment removed the restrictions imposed by the 1995 Conservation Easement on the Hospital

Property. At his deposition, Murren unambiguously testified to his knowledge of the 2008

Amendment and its effect at the time of MST’s 2010 purchase:

       Q. Okay. Now, I believe I asked just a minute ago what your understanding was
       of how the conservation easement and amendment potentially impacted Weehaw
       Plantation. Did you have an understanding?

       A. Yes, a rough understanding.

       Q. Okay. And what was that rough understanding at the time you purchased the
       property?

       A. That the property could not be developed outside of the contours of what was
       previously agreed to with the North American Land Trust.

       Q. And what was your understanding of how the amendment potentially impacted
       the development of Weehaw Plantation?

       A. I didn’t focus on the amendment, but I -- it -- to my recollection, the amendment
       took away some building lots that were on the Weehaw property originally, and
       that had no bearing on my decision to buy Weehaw.

       Q. Okay. And were you also aware at the time that you purchased Weehaw
       that the hospital parcel had been removed from the conservation easement?

       A. I was.




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                                    *      *         *

       Q. But you understood that the amendment removed rights to develop five
       building envelopes on Weehaw when you purchased it, right?

       A. I did understand, yes.

       Q. And you understood that it removed the hospital property from the
       conservation easement on Weehaw; is that correct?

       A. That’s what I understood, yes.

       Q. And even knowing those two things you decided to purchase Weehaw?

       A. I did.

                                    *      *         *

       Q. Okay. Now, when you purchased 687.2 acres of Weehaw from the Youngs,
       you did so with the understanding that it was subject to the conservation easement
       and the 2008 amendment, correct?

       A. That is correct.

       Q. And you made the decision to purchase Weehaw for $3.4 million with the
       understanding, again, that it was subject to the conservation easement and the
       2008 amendment; is that right?

       A. That is correct.
(Mot. Ex. J 97:16–98:16, 99:13–23, 128:9–19 (emphasis added).) Relatedly, MST’s attorney for

the 2010 purchase likewise testified to his knowledge and discussions with MST about the 2008

Amendment’s effect:

       Q. Now, did you go over this provision with the members of MST and explain to
       them what it meant from a legal standpoint?
       A. I would have gone over the entirety of the title notes with this parcel
       especially with the fact that the Murrens at the time had not bought a piece of
       property subject to a conservation easement. . . . I would have absolutely
       discussed the terms and conditions of the easement.
       Q. And understanding that you don’t recall word for word what you discussed with
       them, do you recall having that conservation with them specifically?
                                               ...


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       Q. And did you discuss how the amendment, if at all, impacted their use and
       enjoyment of Weehaw Plantation?
       A. We talked quite a bit about what the first -- the original agreement provided
       for the developability of these waterfront sites and how that was no longer possible,
       and the restrictions of the easement were now fully encumbering those, and that he
       would have a neighbor that would potentially be a hospital adjacent to him.
       Because at that point in time he was my client. He needed to know that.
       Q. And at that point in time, did Mr. Murren raise any concern to you of there
       potentially being a -- a hospital on the site next door?
       A. He proceeded to close, so I’m assuming he got comfortable with it or they,
       not him.
(Mot. Ex. E 64:7–66:8 (emphasis added).) Therefore, both MST and its attorney knew of the 2008

Amendment and its effect; more particularly, MST’s attorney specifically counseled MST that

GMH had arranged for the right to develop the Hospital Property. (See id.)

       Accordingly, MST must be estopped from denying the effectiveness of the 2008

Amendment. Not only does the deed transferring title of the Weehaw Balance from the Youngs

to MST expressly state that MST purchased the property subject to the 1995 Conservation

Easement and the 2008 Amendment, MST itself (through Murren) understood that, when it

purchased the Weehaw Balance in 2010, it was subject to the 1995 Conservation Easement and

2008 Amendment; that the restrictions imposed by the 1995 Conservation Easement no longer

applied to the Hospital Property; that the Hospital Property could be developed; and that MST was

purchasing the Weehaw Balance for $3.4 million subject to that understanding.

       MST is, therefore, estopped from now seeking to challenge the validity of the 2008

Amendment and seeking to impose the restrictions of the 1995 Conservation Easement on the

Hospital Property because it purchased the Weehaw Balance for $3.4 million in 2010 expressly

subject to and understanding these conditions. In other words, MST now seeks to (1) invalidate

the 2008 Amendment to gain greater property rights in the Weehaw Balance than it purchased (i.e.,

the right to develop the restricted building envelopes) and (2) to impose the restrictions of the 1995


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Conservation Easement on the Hospital Property as a way of exercising dominion and control over

a piece of property which it does not own and has never owned. However, because MST purchased

the Weehaw Balance subject to the 1995 Conservation Easement and 2008 Amendment (per the

express language of the deed conveying title of the Weehaw Balance to MST and according to

MST’s own understanding), and because it paid consideration of $3.4 million for the Weehaw

Balance specifically subject to these conditions, MST is estopped from now challenging the

effectiveness of the 2008 Amendment and seeking to impose the restrictions of the 1995

Conservation Easement on the Hospital Property (which the 2008 Amendment expressly released

according to its plain language and to MST’s own understanding of the 2008 Amendment prior to

purchasing the Weehaw Balance). GMH is therefore entitled to summary judgment on MST’s

claim.

         D. GMH Is Entitled to Summary Judgment Because MST’s Claim Is Time
            Barred under the Doctrine of Laches.

         GMH is separately entitled to summary judgment because MST’s claim is time barred

under the doctrine of laches. “Laches is neglect for an unreasonable and unexplained length of

time, under circumstances affording opportunity for diligence, to do what in law should have been

done.” Richey v. Dickinson, 359 S.C. 609, 612, 598 S.E.2d 307, 309 (Ct. App. 2004) (quoting

Muir v. C.R. Bard, Inc., 336 S.C. 266, 296, 519 S.E.2d 583, 598 (Ct. App. 1999)) (holding that

doctrine of laches barred plaintiff from asserting claim after failing to pursue it for 11 years).

“Under the doctrine of laches, if a party who knows his rights does not timely assert them, and by

his delay, causes another party to incur expenses or otherwise detrimentally change his position,

then equity steps in and refuses to enforce those rights.” Id. (quoting Muir, 336 S.C. at 296, 519

S.E.2d at 599). “The party asserting laches has the burden of showing negligence, the opportunity

to act sooner, and material prejudice.” Id. (quoting Muir, 336 S.C. at 297, 519 S.E.2d at 599).



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       For the same reasons detailed above in Section V.C supra, the doctrine of laches bars MST

from now challenging the effectiveness of the 2008 Amendment. MST purchased the Weehaw

Balance in 2010; the deed transferring title to MST expressly stated that MST purchased the

property subject to the 1995 Conservation Easement and the 2008 Amendment. Thus, when MST

purchased its portion of Weehaw Plantation, MST had notice (and actual knowledge) of both the

1995 Conservation Easement and the 2008 Amendment. Both MST and its attorney for the 2010

purchase concede that they knew MST’s purchase of the MST Property was subject to the 2008

Amendment—and that the 2008 Amendment removed the conservation easement for the Hospital

Property. (See Mot. Ex. J 97:11–99:23; Mot. Ex. E 62:25–66:8.) Nevertheless, despite full

knowledge and awareness, MST waited until 2022 to commence this action challenging the

validity of the 2008 Amendment—a nearly 12-year delay, triggering the doctrine of laches. See

Richey, 359 S.C. at 612, 598 S.E.2d at 309. MST had the opportunity to act immediately at the

time of its 2010 purchase, or within any reasonable time-frame thereafter, yet it chose not to do

so. GMH relied upon the efficacy of the 2008 Amendment, and it has suffered material prejudice

from MST’s complete silence by detrimentally changing its position and incurring significant

expense as a result of MST’s newfound contentions. (Mot. Ex. M 94:5–97:10 (explaining that,

due to MST’s recent reversal, GMH cannot sell the Hospital Property despite express interest

therein by potential buyers—including a $3.5 million letter of intent to purchase the Hospital

Property).) More specifically, in February 2021, GMH undertook multiple steps to prepare the

Hospital Property to sell for use by an affordable housing developer so that GMH and other

businesses in Georgetown could attract and recruit lower- to middle-income skilled workers

necessary for their businesses to operate. (See id.) Yet, following MST’s unexpected about-face,

GMH was prevented from completing these plans. (See id.) As the result of MST’s unjustifiable




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laxity, GMH now has “a $3.3 million rock around [its] neck while [it’s] trying to tread water.” (Id.

95:5–7.)

       In addition to the prejudice GMH has suffered by not being able to sell the Hospital

Property due to MST’s delayed challenge of the 2008 Amendment, GMH and the other parties’

ability to defend this case has also been materially impacted by MST’s delay: Simply put,

documents and witnesses that would have previously been able to shed light on the issues present

in this case are no longer available. Indeed, Andrew Johnson, NALT’s former president, who was

the person at NALT most involved in the 2008 Amendment process, died in 2021; he therefore

cannot testify about key contentions raised by MST in this case, nor provide certain documents

related to MST’s claims, such as some of the studies referenced in the 2008 Amendment

demonstrating NALT’s conclusion that the substantial ecological benefits of the 2008 Amendment

outweighed any detriments. (See Mot. Ex. N 103:14–140:13, 149:15–150:23, 229:13–231:14.)

Moreover, NALT suffered a massive data breach in 2016 which may have resulted in stolen or lost

records related to Weehaw and the 2008 Amendment process. (Id. 224:12–225:5.) Further, Dan

Stacy, the attorney who (1) represented GMH in its purchase of the Hospital Property, (2) guided

GMH through the 2008 Amendment process, and (3) represented MST in its purchase of the

Weehaw Balance, destroyed his paper files related to these transactions in 2015 and 2017

respectively (which is within the requisite record-keeping requirements for South Carolina

attorneys under Rule 1.15(a), RPC, Rule 407, SCACR, and Rule 417(1), SCACR), and has only

been able to provide limited documentary evidence related to the issues in this case that he

maintained on his backup computer systems. (See Mot. Ex. E 30:2–16, 30:20–31:5.) GMH also

testified that MST’s delay has negatively impacted its ability to defend itself in this litigation.

Witnesses can no longer remember certain key facts at issue, and documents relating to the subject




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matter of the litigation are no longer available, as this case was brought by MST long after GMH’s

documents at issue in this case were destroyed subject to its own retention policies. (See Mot. Ex.

M 94:6–95:7.) This is the exact type of prejudice that the doctrine of laches is designed to prevent.

E.g., Russell v. Todd, 309 U.S. 280, 287 (1940) (“In the application of the doctrine of laches it

recognized that prejudice may arise from delay alone, so prolonged that in the normal course of

events evidence is lost or obscured . . . .”); Ray Commc’ns, Inc. v. Clear Channel Commc’ns, Inc.,

673 F.3d 294, 305 (4th Cir. 2012) (“Evidentiary prejudice encompasses such things as lost, stale

or degraded evidence or witnesses whose memories have faded or who have died.”).

       MST’s neglectful delay has further prejudiced the parties as they have operated under the

2008 Amendment and have been forced to pay to defend its validity. Specifically, NALT has

expended significant time and expense associated with its yearly monitoring reports operating

under the 2008 Amendment. (Mot. Ex. N 245:14–246:7.) Also, NALT has incurred substantial

legal fees to defend this litigation, which is a suit that has caused unnecessary uncertainty in

NALT’s amendment practice. (See Mot. Ex. J 311:9–13; Mot. Ex. N 235:11–242:4.)

       Accordingly, the doctrine of laches bars MST from now bringing this case seeking to

invalidate the 2008 Amendment and impose the restrictions of the 1995 Conservation Easement

on the Hospital Property almost 12 years after MST should have done so.

      E. GMH Is Entitled to Summary Judgment Because GMH Is a Bona Fide
         Purchaser for Value.

       GMH is separately entitled to summary judgment because GMH is a bona fide purchaser

for value with respect to the Hospital Property. “A purchaser may assert a plea in equity of a bona

fide purchaser for value, without notice of defect in his title, by showing (1) he has actually paid

in full the purchase money (giving security for the payment is not sufficient, nor is past

indebtedness a sufficient consideration); (2) he purchased and acquired the legal title, or the best



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right to it; and (3) he purchased bona fide, i.e., in good faith and with integrity of dealing, without

notice of a lien or defect. The bona fide purchaser must show all three conditions—actual payment,

acquiring of legal title, and bona fide purchase—occurred before he had notice of a title defect or

other adverse claim, lien, or interest in the property.” Spence v. Spence, 368 S.C. 106, 117, 628

S.E.2d 869, 874–75 (2006); see also S.C. Code Ann. § 30-7-10 (“All deeds of conveyance of lands

. . . or instruments in writing . . . charging or encumbering [property] . . . are valid so as to affect

the rights of . . . purchasers for valuable consideration without notice . . . .”). In such circumstances,

the bona fide purchaser for value takes title to the property free of any purported defect therein.

See Goodwin v. Harrison, 231 S.C. 243, 249, 98 S.E.2d 255, 258 (1957).

        Here, GMH actually paid in full the purchase money for the Hospital Property, acquired

legal title thereto, and purchased it in good faith with integrity of dealing and without any notice

of the purported defect in the 2008 Amendment.9 More specifically, when GMH purchased the

Hospital Property from the Youngs in 2008, GMH paid the Youngs the full purchase price of

$3,301,513.56 and acquired legal title to the property, as evidenced by the General Warranty deed

transferring title from the Youngs to GMH. (Mot. Ex. H; Mot. Ex. P.) Moreover, GMH purchased

the Hospital Property with the good faith belief that the 2008 Amendment was valid, and that it

was purchasing the property free of the restrictions imposed by the 1995 Conservation Easement.

Nothing in the record of title suggested otherwise, and the 2008 Amendment itself stated that the

56.75 acres of the Hospital Property that were previously subject to the 1995 Conservation

Easement were “released from the easements, covenants, prohibitions, and restrictions set forth in



9
 To be clear, GMH disagrees with MST’s contention that the 2008 Amendment is invalid (see
Section V.F, infra.), but even if the 2008 Amendment was invalid, as a bona fide purchaser for
value, GMH has title to the Hospital Property free and clear of the restrictions imposed by the 1995
Conservation Easement.


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the Conservation Easement.” (Mot. Ex. G at 3.) GMH relied on its legal counsel, Dan Stacy, to

handle the 2008 Amendment Process. (Mot. Ex. M 91:22–25.) Mr. Stacy worked with counsel

for NALT and the Youngs to do so, and counsel for each GMH, NALT, and the Youngs determined

that the 2008 Amendment was valid and that it removed the restrictions placed on the Hospital

Property by the 1995 Conservation Easement.          (See Mot. Ex. E 34:3–36:5, 53:13–54:19.)

Moreover, prior to the execution of the 2008 Amendment and GMH’s purchase of the Hospital

Property, Mr. Stacy communicated his legal opinion to GMH that the 2008 Amendment was valid

and legally enforceable. (Mot. Ex. M 34:3–25.) GMH, at no point in time, was ever put on notice

of any concern that the 2008 Amendment may be invalid or otherwise legally unenforceable. (Id.

92:9–17.) If any such concern were raised, GMH would not have purchased the Hospital Property.

(Id. 92:18–24.)

       Moreover, no legal guidance or authority existed at the time that could have otherwise put

GMH on notice that the 2008 Amendment may be invalid. Indeed, nothing in Section 170(h) of

the Internal Revenue Code or the corresponding regulations put GMH on notice that the Hospital

Property could still be subject to the restrictions of the 1995 Conservation Easement following the

execution of the 2008 Amendment, as those provisions deal specifically with a grantor’s ability to

claim a charitable deduction on his income taxes for the donation of a qualified conservation

contribution. See 26 U.S.C. § 170(h). Additionally, the case of Belk v. C.I.R., 774 F.3d 221 (2014)

(which is the sole authority relied upon by MST in claiming that the 2008 Amendment did not

effectively remove the restriction of the 1995 Conservation Easement from the Hospital Property)

was not decided until 2014—almost 6 years after the 2008 Amendment was executed and GMH

had purchased the Hospital Property. The Amendment itself incorporates the law of the State of




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South Carolina, which, under S.C. Code § 27-8-30(A), specifically allows conservation easements

to be modified or altered just like any other easement instrument.

       In short, GMH would not have purchased the Hospital Property if it had any reason to

believe that the 2008 Amendment was invalid. (Mot. Ex. M 92:9–17.) GMH’s counsel, NALT’s

counsel, and the Youngs’ counsel each examined the 2008 Amendment and determined that it

effectively released the Hospital Property from the restriction imposed by the 1995 Conservation

Easement. (See Mot. Ex. E 34:3–36:5, 53:13–54:19.) And, GMH’s counsel communicated this

legal opinion to GMH. (Mot. Ex. M 34:3–25.) Under this set of facts, GMH cannot be found to

have been on notice of the purported defect in title. Therefore, when GMH purchased the Hospital

Property, GMH did so as a bona fide purchaser for value. See 77 AM. JUR. 2D Vendor and

Purchaser § 379 (May 2023 update) (“For a purchaser to be charged with inquiry notice, when

determining whether a purchaser of real property is a bona fide purchaser, a reasonable

investigation must disclose a claim to the title of the property, and a possibility or probability is

not sufficient to impute inquiry notice. A person is required to make a reasonable inquiry about

title, not an exhaustive one, and it is reasonable for a person to accept the advice of counsel.”

(emphasis added) (citing In re Estates of Collins, 205 Cal. App. 4th 1238 (3d Dist. 2012))).

       As a result, GMH took title to the Hospital Property free of the restrictions imposed by the

1995 Conservation Easement, and any subsequent purchaser of the Hospital Property will stand in

GMH’s shoes and be entitled to the same protections. See Goodwin, 231 S.C. at 250, 98 S.E.2d at

258 (“After property has passed into the hands of a bona fide purchaser, every subsequent

purchaser stands in the shoes of such bona fide purchaser and is entitled to the same protection as

the bona fide purchaser.”)




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      F. GMH Is Entitled to Summary Judgment Because the 2008 Amendment Is
         Valid.

      Finally, GMH is entitled to summary judgment because the 2008 Amendment is valid. MST

claims that the 2008 Amendment is invalid because it violates Article F ¶ 9 of the 1995

Conservation Easement. In contrast, Article F ¶ 9 of the 1995 Conservation Easement expressly

allows for amendment, providing as follows:

       Grantee and Grantor shall mutually have the right, in their sole discretion, to agree
       to amendments to this Declaration which are not inconsistent with the basic purpose
       of the Declaration as stated in this document, provided however, that Grantee shall
       have no right or power to agree to any amendments hereto that would result in this
       Declaration failing to qualify as a valid conservation easement under the Act, as the
       same may be hereafter amended, or Section 170(h) of the Code as hereafter
       amended.

(See Mot. Ex. A at 31 art. F ¶ 9.) MST asserts that the 2008 Amendment fails to comply with this

provision and is therefore invalid for two reasons: (1) the 2008 Amendment results in the

Declaration failing to qualify as a valid Conservation Easement under Section 170(h) of the

Internal Revenue Code; and (2) the 2008 Amendment is inconsistent with the basic purpose of the

1995 Conservation Easement.10 MST is incorrect as to both arguments.

           1. The Amendment Does Not Render the 1995 Conservation Easement Invalid
              under Section 170(h) of the Internal Revenue Code.

       MST claims that NALT did not have the power to agree to the Amendment because the

2008 Amendment renders the 1995 Conservation Easement invalid under Section 170(h) of the

Internal Revenue Code. See 26 U.S.C. § 170(h). In doing so, MST relies on the language of

Article F ¶ 9 of the Conservation Easement that states in relevant part the following: “Grantee

shall have no right or power to agree to any amendments hereto that would result in this



10
 MST has failed to timely put forth any expert opinion or testimony on this issue. See GMH’s
Motion to Exclude Affirmative Expert Opinions of Travis Folk. (ECF No. 114.)


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Declaration failing to qualify as a valid conservation easement under the Act . . . or Section 170(h)

of the Code . . . .” (Mot. Ex. A at 31 art. F ¶ 9.) However, the 2008 Amendment did not, and

could not, render the 1995 Conservation Easement invalid under Section 170(h) because Section

170(h) of the Internal Revenue Code does not address the validity of conservation easements.

Section 170(h) simply provides a definition of a “qualified conservation contribution” for the

purposes of a landowner’s ability to claim a charitable tax deduction related to the conservation

easement. See 26 U.S.C. § 170(h). Section 170(h), however, does not define a “conservation

easement.” Section 170(h) also does not identify the elements of a valid “conservation easement.”

Nor could a provision of the United States Internal Revenue Code possibly define any such issue

of state property law.

       Conservation easements are real property interests governed by common law and the South

Carolina Conservation Easement Act. See S.C. Code Ann. § 27-8-10 et seq. The validity of

conservation easements under state law is not governed by the Internal Revenue Code. Rather,

the Act itself defines a conservation easement:

       a nonpossessory interest of a holder in real property imposing limitations or
       affirmative obligations, the purposes of which include one or more of the following:
       (a) retaining or protecting natural, scenic, or open-space aspects of real property;
       (b) ensuring the availability of real property for agricultural, forest, recreational,
       educational, or open-space use; (c) protecting natural resources; (d) maintaining or
       enhancing air or water quality; (e) preserving the historical, architectural,
       archaeological, or cultural aspects of real property.

S.C. Code Ann. § 27-8-20(1). Under the Act, “a conservation easement may be created, conveyed,

recorded, assigned, released, modified, terminated, or otherwise altered or affected in the same

manner as other easements . . . .” Id. § 27-8-30 (emphasis added).

       “Parties to a bilateral contract—which is all a conservation easement is—can always agree

after the fact to amend their agreement. . . .” Pine Mountain Pres., LLLP v. Comm’r of Internal




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Revenue, 978 F.3d 1200, 1209–10 (11th Cir. 2020).11 That is exactly what happened here. The

Grantor (the Youngs) and the Grantee (NALT) of the 1995 Conservation Easement agreed to

amend the 1995 Conservation Easement to release 56.75 acres of the Hospital Property from the

restrictions imposed by the 1995 Conservation Easement. (See Mot. Ex. G.) Nothing about the

2008 Amendment caused the 1995 Conservation Easement to be invalid under the Act—because

the Act expressly allows for conservation easements to be amended by agreement. Nothing caused

the 1995 Conservation Easement to become invalid under Section 170(h) of the Internal Revenue

Code—because the Internal Revenue Code does not prescribe what makes a conservation

easement valid or invalid. Again, Section 170(h) merely addresses whether a charitable deduction

can be claimed for a qualified conservation contribution.

       Nonetheless, MST relies exclusively on Belk v. C.I.R., 774 F.3d 221 (2014), to stand for

the proposition that the 2008 Amendment caused the 1995 Conservation Easement to be invalid

under Section 170(h) of the Internal Revenue Code because it removed property from the 1995

Conservation Easement, and therefore violated the perpetuity requirement set forth in that section.

(See ECF No. 37 at 8–14). MST, however, misapplies the holding of Belk. Belk dealt solely with

whether a landowner could claim a charitable tax deduction for property that was placed in a

conservation easement when the land that was subject to the easement could be substituted for

other land not subject to the easement. See id. at 221–23. Belk did not analyze whether a grantee

was prohibited from agreeing to an amendment to the conservation easement—as is the issue in

this case. Rather, as MST points out, the Belk holding was limited to the following: “a charitable



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  This Court previously cited Pine Mountain in its Order denying Defendants’ motions to dismiss,
noting that Pine Mountain held that “perpetuity” in the contest of Section 170(h) does not mean
“inalienability, unreleasability, or unamendability” but rather “denotes only that the granted
property will not automatically revert to the grantor, his heirs, or assigns.” (ECF No. 29 at 23.)


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deduction may be claimed for the donation of a conservation easement only when that easement

restricts the use of the donated property in perpetuity.” See id. at 227 (emphasis added); see also

id. at 228 (“[A]n easement that . . . grants a restriction for less than a perpetual term, may be a

valid conveyance under state law, but is still ineligible for a charitable deduction under federal

law.” (emphasis added)). In other words, Belk deals particularly with the tax consequences of the

parties’ agreement, and it has no bearing whatsoever on the real property ramifications of a

voluntary, mutually agreed-upon modification to a conservation easement.

       It should also be noted that, although MST claims that the 2008 Amendment is invalid

based on the 1995 Conservation Easement’s reference to Section 170(h) of the Internal Revenue

Code and the 2014 holding in Belk, the IRS itself has never taken issue with the 2008 Amendment

or NALT’s other amendments to conservation easements—despite NALT reporting all of its

amendments (including the 2008 Amendment) to the IRS, and despite the IRS having audited

NALT on three occasions. (See Mot. Ex. N 33:19–34:3, 236:11–238:8.) In other words, the IRS

has had knowledge of the 2008 Amendment since shortly after it was executed, but the IRS has

not challenged or otherwise taken issue with 2008 Amendment during the almost 16 years in which

the 2008 Amendment has been in effect. In light of these circumstances, MST’s argument that

Section 170(h) of the Internal Revenue Code and Belk render the 2008 Amendment invalid rings

hollow.

       Based on the foregoing, MST’s interpretation of the 1995 Conservation Easement

(specifically the amendment provision set forth in Article F ¶ 9 of the same), Section 170(h) of the

Internal Revenue Code, and Belk seeks to impermissibly expand the restrictions of the 1995

Conservation Easement on the Hospital Property beyond the plain language articulated in the

easement itself. And in South Carolina, “restrictions as to the use of real estate should be strictly




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construed and all doubts resolved in favor of free use of the property.” See S.C. Dep’t of Nat. Res.

v. Town of McClellanville, 345 S.C. 617, 622, 550 S.E.2d 299, 302 (2001) (quoting Taylor v.

Lindsey, 332 S.C. 1, 4–5, 498 S.E.2d 862, 863–64 (1998)); see also Cmty. Servs. Assoc’s., Inc. v.

Wall, 421 S.C. 575, 808 S.E.2d 831 (S.C. Ct. App. 2017). Accordingly, MST’s argument that the

2008 Amendment is invalid under Article F ¶ 9 of the 1995 Conservation Easement, according to

Section 170(h) and Belk, fails as a matter of law. Therefore, this Court should grant summary

judgment in GMH’s favor on this point.

           2. The 2008 Amendment Is Not Inconsistent with the Basic Purpose of the
              1995 Conservation Easement.

       MST’s argument that NALT did not have the right or power to agree to the Amendment

pursuant to Article F ¶ 9 because it was inconsistent with the basic purpose of the 1995

Conservation Easement is also without merit. The basic purpose of the 1995 Conservation

Easement is to “preserve the Property predominantly in its present condition, and to protect or

enhance the Property’s environmental systems.” (Mot. Ex. A at 26 ¶ 9). The 2008 Amendment

which MST claims is invalid released 56.75 upland acres of 788 total acres from the restrictions

imposed by the 1995 Conservation Easement, and in exchange for doing so, further encumbered

Weehaw by eliminating the Grantor’s reserved right to develop five homesites on approximately

35 acres of waterfront property. (Mot. Ex. G.) Before executing the 2008 Amendment, NALT—

whose mission is to preserve open space, natural habitats, and cultural resources (Mot. Ex. N

268:2–9) determined that amending the 1995 Conservation Easement in the manner described

therein would “have a greater ecological benefit and further advance and protect the Conservation

Purposes of the Conservation Easement.” (Mot. Ex. G at 2.)

       What MST conveniently ignores, however, is that NALT’s sole interest—as Grantee—is

to preserve and conserve the natural and environmentally sensitive areas that are the subject of the



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1995 Conservation Easement for the benefit of the public. NALT stood to gain nothing from the

2008 Amendment other than ensuring that the 1995 Conservation Easement serves that charitable

purpose, and NALT had every incentive to make sure that the 2008 Amendment would further the

basic purpose of the 1995 Conservation Easement.12 Accordingly, any argument that the 2008

Amendment is invalid because it was inconsistent with the basic purpose of the 1995 Conservation

Easement is entirely inconsistent with the factual record in this case. Therefore, this Court should

grant summary judgment in favor of GMH on this point.

 VI. CONCLUSION

       For the foregoing reasons, GMH is entitled to summary judgment on MST’s claim against

it. Accordingly, GMH respectfully requests that this Court enter judgment in its favor and against

MST.


       April 1, 2025

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   (See Mot Ex. N 268:10–269:1 (testifying that (1) one of NALT’s key roles is to enforce the
restrictions on conservation easements that it holds; (2) NALT would have had no incentive to
execute the 2008 Amendment if it did not further the conservation benefits or purposes underlying
the 1995 Conservation Easement; and (3) NALT would not have executed the 2008 Amendment
if it had any concern that it was improper or did not further the conservation purposes and values
of the underlying 1995 Conservation Easement).)


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